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Attorney for Plaintiff
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

JUD:TH §>RYOR, CIv:L No.

    

 

)
)
P§aintiff, ) COMPLAINT; EXHIBITS "A - E"; w
) SUMMONS §
ve. )
)
OSI COLLECTION SERVICES, INC., )
)
Defendant. )
)
COMPLAINT

COMES NOW Plaintiff, by‘ and. through her undersigned

attorney and alleges as followe:
INTRODUCTION

1. Thie Complaint is filed and these proceedings are
§net§tnted under the "Fa§r Debt Col§ection Practicee Act“ 15 U.S.C.
Section 1692, et Seg., to recover actual and etatutory damagee,
reaeonable attorney'e fees and costs of emit by reason of the
Defendant'e violations Of that Act. P§aintiff Seeke actual and
gratutory damagee arising out of Defendant‘e misrepresenratione and
failure to awake required diecioeuree in the colleoricxl of an

alleged debt.

 

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JURISDICTION
2. The jurisdiction of this Conrt is invoked pursuant to
15 U.S.C.A. Section 1692k(d) and 28 U.S.C.A. Section 1337. The
supplemental jurisdiction.of this Conrt is invoked over Connt §§ of
the Complaint, which arises under Chapters 443B and 480 of the

Hawaii Revised Statntes.

PARTIES
3. Plaintiff is a naturai person and is a resident of
the State of Hawaii.
e. Defendant is a corporation doing business in the

State of Hawaii as a collection agency and debt collector, and is

subject to the jurisdiction of this Court.

P`ACTS

 

5. Within the year prior to the filing of this action,
Defendant has been attempting on behali of a third party to collect
an alleged debt from Plaintiff.

6. On or about November 19, 2006, De§endant sent its
first letter to Plaintiff. A true copy of that letter is attached
hereto as Exh§bit "A“.

7. On December 5, 2006, Plaintiff’s counsel sent a
letter to Defendant requesting verification of the debt. A true
copy of that letter is attached hereto as Exhihit “B".

8. Defendant never sent the requested verification, but

on January' 26, 2007, Defendant sent another letter‘ demanding

 

 

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payment of that debt. A true copy of that letter is attached
hereto as Exhibit "C".

9. On or about December 23, 2006, Deiendant sent its
first letter to Plaintiff regarding a second account. A_true copy
of that letter is attached hereto as Exhibit “D“.

lO. On January 3, 2007, Plaintiff's counsel sent a
letter to Defendant requesting verification of the debt. A true
copy of that letter is attached hereto as Exhibit "E".

11. Defendant never sent the requested verification.

12. The underlying debts Were incurred primarily for

personal, family, or household purposes.

COUNT l
13. Plainti§f realleges and incorporates paragraphs l
through l2 of this Complaint.
14. Defendant has violated the Fair Debt Collection

Practices Act in the following Ways:

(a) Defendant has used false, deceptive and
misleading misrepresentations in connection with the collection of
the above claim in violation of 15 U.S.C. §§692e,

(b) Defendant has used unfair means to collect and
to attempt to collect the above claim in violation of 25 UKS.C.
§1692§.

(c) befendant has not sent to Plaintiff the proper

notices and/or verifications required by the Act in violation of 15

 

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U.s.c. §isazg.
(d) Detendant has violated 15 U.S.C. §1692c.
COUNT il

15. Plaintiff realleges and incorporates paragraphs l
through le of this Complaint.

16. Defendant has violated Chapters 443§ and 480 of the
sawaii Revised Statutes as alleged above.

17. Defendant's violations of HRS Chapter 4433 and of
the Pair Debt Collection. Practices Act constitute unfair and
deceptive acts or practices in violation of H.R.S. Chapter 480.

18, Defendant’s contacts, demands and disclosures in
connection with the above~described coliection were immoral,
unethical, oppressive, unscrupulous, and.substantially injurious to
Plaintiff as a consumer, and were unfair and deceptive, in
violation of H.R.S. Chapter 480. The acts and representations of
Defendant described herein had the capacity of deceive Plaintitf.

l9. Plaintiff has suffered injury to her property in an

amount to be proved.at trial, by reason of Defendant’s violations.

WHEREFORE, Plaintiff prays that the Court:
AS TO COUNT l
l. AWard Plaintiff his actual damages as Will he proved.

2. Award Plainti§f statutory damages of $1000.00.

 

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AS TO COUNT ll

3. Award Plaintiff damages in the amount of three times
the injury to her property, hut not less than $§OO0.00.

AS TO ALL COUNTS

4. Award Plaintiff reasonable attorneys* fees and costs.

5. hward Plaintift other appropriate reliei.

 

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JGHN HARRIS PAER
Attorney for Plaintiff

 

